Case 1:11-cv-01611-MSK-CBS Document 4 Filed 06/28/11 USDC Colorado Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                    Honorable Marcia S. Krieger

  Civil Action No. 11-cv-01611-MSK-CBS

  WESTERN CONVENIENCE STORES, INC., a Colorado corporation; and
  WESTERN TRUCK ONE, LLC, a Colorado limited liability company,,

                  Plaintiffs,

  v.

  SUNCOR ENERGY (U.S.A.) INC., a Delaware corporation,

                  Defendant.


       ORDER REGARDING CUSTODY OF EXHIBITS AND DEPOSITIONS USED IN
                   EVIDENTIARY HEARINGS AND TRIALS


         IT IS ORDERED that, as to any exhibits and depositions used during evidentiary

  hearings or trials, counsel for the parties shall retrieve the originals of such exhibits and

  depositions from the Court following the evidentiary hearing or trial, and shall retain same for 60

  days beyond the later of the time to appeal or conclusion of any appellate proceedings. The

  Court will retain its copy of the exhibits for the same time period after which the documents will

  be destroyed.
Case 1:11-cv-01611-MSK-CBS Document 4 Filed 06/28/11 USDC Colorado Page 2 of 2




       DATED this 28th day of June, 2011.

                                            BY THE COURT:




                                            Marcia S. Krieger
                                            United States District Judge
